      Case 1:17-cv-01147-WJ-LF Document 201 Filed 01/14/20 Page 1 of 2



                             U.S. DISTRICT COURT
                           DISTRICT OF NEW MEXICO


ANNETTE RODRIGUEZ,

             Plaintiff,

v.                                            No. Case No. 1:17-CV-1147-WJ-LF

RICKY SERNA, BRANDI CORDOVA,
PATRICIA TRUJILLO, NANCY “RUSTY” BARCELO,
RICK BAILEY, MATTHEW MARTINEZ,
PEDRO MARTINEZ, MARIO CAETANO,
RYAN CORDOVA, ANDY ROMERO,
in their individual capacities;
and NORTHERN NEW MEXICO COLLEGE (NNMC)
AND THE NNMC BOARD OF REGENTS,

             Defendants.


                ORDER OF DISMISSAL WITH PREJUDICE
     OF ALL CLAIMS AND CAUSES OF ACTION AGAINST DEFENDANTS

      THIS MATTER having come before the Court on Joint Motion of Dismissal,

with Prejudice of Plaintiff Annette Rodriguez and Defendants Ricky Serna, Brandi

Cordova, Patricia Trujillo, Nancy “Rusty” Barcelo, Rick Bailey, Matthew Martinez,

Pedro Martinez, Mario Caetano, Ryan Cordova and Andy Romero (the Defendants),

for an Order of Dismissal of all claims or potential claims that have been brought or

could have been brought by Plaintiff against these Defendants, the Court finds that

the Joint Motion of Dismissal with Prejudice is well taken and shall be GRANTED.
       Case 1:17-cv-01147-WJ-LF Document 201 Filed 01/14/20 Page 2 of 2



      IT IS HEREBY ORDERED, ADJUDGED AND DECREED that Plaintiff’s

First Amended Complaint [Doc 73, filed 9/19/18] be, and hereby is, DISMISSED

WITH PREJUDICE as to Defendants Ricky Serna, Brandi Cordova, Patricia

Trujillo, Nancy “Rusty” Barcelo, Rick Bailey, Matthew Martinez, Pedro Martinez,

Mario Caetano, Ryan Cordova and Andy Romero.



                               ____________________________________
                               THE HONORABLE WILLIAM JOHNSON

Submitted by:

LONG, KOMER & ASSOCIATES, P.A.
Attorneys for Defendants


/s/ Mark E. Komer
Mark E. Komer
P. O. Box 5098
Santa Fe, NM 87502-5098
505-982-8405
mark@longkomer.com
email@longkomer.com

Approved:

Electronic approval 11-21-19
JASON MARKS LAW LLC
Jason Marks
1011 Third Street, N.W.
Albuquerque, NM 87102
(505) 385-4435
lawoffice@jasonmarks.com

Attorneys for Plaintiff
